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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,
VS. Criminal No. 19-219

MUSTAFA MOUSAB ALOWEMER

CHANGE OF PLEA
AND NOW, the defendant in the above entitled case hereby
withdraws his plea of not guilty entered July 24, 2019
And now pleads guilty in open court to Count ONE

This 16 day of September, 2021.

 

 

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(Attorney for Defendart’s Signaitife)
